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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

X
FARA D’ ANGELO, :
Case No. 3:08-CV-1548(JCH)
Plaintiff,
Vv.
WORLD WRESTLING ENTERTAINMENT,
INC., : OCTOBER 26, 2009
Defendant. :
X

 

MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
COMPLAINT OR IN THE ALTERNATIVE TO COMPEL AND FOR SANCTIONS

The Defendant, World Wrestling Entertainment, Inc. (“WWE”), hereby respectfully
submits this Memorandum of Law in support of its Motion, pursuant to Fed. R. Civ. P.
37(b)(2)(A)(v), for an order dismissing the Complaint in its entirety due to Plaintiffs obstructive
and dilatory actions, in contravention to the parties’ discovery plan pursuant to Fed. R. Civ. P.
26(f), or, in the alternative, for such relief by way of those sanctions set forth in said Motion.

NATURE OF THE ACTION AND PERTINENT FACTS

For a description of this action and the pertinent background facts, this Court is

respectfully referred to the Defendant’s Motion.
ARGUMENT
A. Standard for Dismissal as a Sanction

Rule 37 of the Federal Rules of Civil Procedure authorizes the court to impose

disciplinary measures for intentional misconduct or grossly negligent behavior during discovery.

Metro. Opera Ass'n, Inc. v. Local 100, Hote] Employees and Restaurant Employees Intern.
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Union, 212 F.R.D. 178, 219 (S.D.N.Y. 2003). The Court has broad discretion in assessing
sanctions, based on all the facts of the case. Novak v. Wolpoff & Abramson LLP, 536 F.3d 175,

177 (2d Cir. 2008)(per curiam)(citation omitted); AAIpharma Inc. v. Kremers Urban Dev. Co.,

 

No. 02 Civ. 9628, 2006 WL 3096026, at *3 (S.D.N.Y. Oct. 31, 2006). Any discovery sanctions
imposed by a court, however, must be just and commensurate with the failure to comply.
Monaghan v. SZS 33 Assocs., L.P., 148 F.R.D. 500, 508 (S.D.N.Y. 1993).

In addition to its general powers under Rule 37(b), the Court has the inherent power to
impose sanctions upon a finding of bad faith. AAIpharma Inc., 2006 WL 3096026, at *3. See
Spanski Enterprises, Inc. v. Telewizja Polska, S.A., No. 07 Civ. 930, 2009 WL 3270794
(S.D.N.Y. Oct. 13, 2009) (slip copy). Rule 37(b)(2) further specifically provides that in order to
avoid paying the expenses caused by its failure, a noncompliant party must show that its failure
was justified or that special circumstances make an award of expenses unjust. Novak, 536 F.3d
at 178.

With respect to the sanction of dismissal, in Agiwal v. Mid Island Mortgage Corp., 555
F.3d 298, 302 (2d Cir. 2009), the Second Circuit court established four factors that a District
Court should consider in its exercise of discretion to dismiss an action as a sanction pursuant to
Fed. R. Civ. Proc. 37:

(1) the willfulness of the non-compliant party or the reason for noncompliance;

(2) the efficacy of lesser sanctions;

(3) the duration of the period of noncompliance, and

(4) whether the non-compliant party had been warned of the consequences of

noncompliance.
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The Agiwal court affirmed dismissal of the plaintiff's action with prejudice for failure to comply
with discovery orders over the span of six months, including failing to appear at three scheduled
depositions. Each discovery order warned of the possibility of sanctions including dismissal, and
the plaintiff failed to establish any justification for such noncompliance. See also, Ofoedu v. St.
Francis Hosp., 234 F.R.D. 26, 33 (D. Conn. 2006)(although only to be used in extreme
circumstances, dismissal is appropriate as a sanction where a party fails to comply with the
court’s discovery orders willfully, in bad faith, or through fault); Daval Steel Prods. v. M/V
Fakredine, 951 F.2d 1357, 1365 (2d Cir. 1991)(where a party seeks to frustrate the purpose of the
federal rules by disobeying discovery orders and thus preventing disclosure of pertinent facts,
severe sanctions are appropriate); Salisbury v. Town of Watertown, 82 F.R.D. 403 (D. Conn.
1979)(where defendants found to have repeatedly ignored or failed to comply with Federal
Rules, plaintiff's motion for sanctions, and specifically for entry of default, granted).

Indeed, here, Plaintiff was repeatedly reminded by Defendant of the Court’s modification of
the discovery deadlines; the possibility Defendant would seek Court intervention; and the lack of
judicial precedent to support any excuse proffered by Plaintiff for her repeated, willful, and
dilatory refusal to answer even one question about her case. The orders of this Court in
modifying the proposed 26(f) discovery plan submitted by the parties, modifications of which
Plaintiff was repeatedly reminded, have been totally frustrated by the Plaintiff, resulting in the
severest of prejudice to Defendant; i.e., preventing Defendant from one of the most critical
avenues of discovery provided by the Federal Rules—taking the deposition of the Plaintiff
concerning the claims made in this litigation and the facts out of which such claims are alleged to
arise. In short, Plaintiff's counsel has engaged in dilatory actions by, inter alia, failing to

produce timely responses to Defendant’s document requests and by repeatedly refusing to
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produce the Plaintiff for her deposition, in contravention to the parties’ discovery plan pursuant
to Fed. R. Civ. P. 26(f). Thus, while this matter does not involve prior Court admonishments
about Plaintiff's deposition in particular, this type of protracted, dilatory and willful conduct
should nevertheless be deemed sufficient for this Court to dismiss her complaint. See Salisbury,
82 F.R.D. 403 (granting plaintiff's motion for default where defendant-town had repeatedly
failed to comply with applicable time limits of Federal Rules of Civil Procedure and court’s
discovery order to respond to interrogatories by certain deadlines).

B. In the Alternative, Other Sanctions are Warranted

In the event this Court deems outright dismissal to be unwarranted, Defendant contends that
Rule 37 further provides for a variety of other, appropriate sanctions, such as those requested in
its Motion, patently appropriate based on the conduct outlined in that Motion. Indeed, as the
court held in Cine Forty-Second Street Theatre Corp. v. Allied Artists Pictures Corp., 602 F.2d
1062, 1066 (2d Cir. 1979), the Court is permitted to impose sanctions such as striking portions of
pleadings, prohibiting introduction of evidence, or issuing orders such as paying the moving
party’s legal fees. See also, SLC Turnberry, Ltd. v. The American Golfer, Inc., 240 F.R.D. 50,
55 (D. Conn. 2007) (vacating default judgment against defendant for failing to respond to
discovery requests and complying with court's discovery orders, but acknowledging that
defendant’s delay resulted in prejudice against the plaintiff and “ordering defendants' immediate
and full compliance with all outstanding discovery requests, precluding evidence at trial which
would have been responsive to that discovery if not timely produced, awarding sanctions in the
form of attorneys fees and costs associated with plaintiffs' motions to compel to the Court, and
by allowing only a very limited supplemental discovery period to allow defendants to prepare

their case.”); Apex Oil Co. v. Belcher Co. of New York, Inc., 855 F.2d 1009, 1014 (2d Cir.
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1988) (“Similarly, Rule 37(d), which concerns a party's failure to attend a deposition ...,
expressly provides that ‘the court shall require the party failing to act or the attorney advising
that party or both to pay the reasonable expenses ... caused by the failure.’”); Wolters Kluwer

Financial Services, Inc. v. Scivantage, 564 F.3d 110 (2d Cir. 2009) (attorney's failure to attend a

 

scheduled deposition that he confirmed the night before, in violation of the court's discovery
order, warranted sanctions); Burke v. Miron, No. 3:07CV1181, 2009 WL 952096, at *1 (D.
Conn. April 7, 2009) (ordering plaintiff to pay sanctions of $2,055 due to plaintiff's refusal to
submit to a deposition); Applera Corp. v. MJ Research, Inc., 220 F.R.D. 13 (D. Conn.
2004)(preclusion of expert disclosure given failure to comply with deadline for same and
repeated requests by opposing party for such disclosure).

Plaintiff's consistent failures to abide by the Federal Rules, including the repeated,
unwarranted and obstructionist refusals to appear for a deposition which was properly noticed
again and again, should not be condoned. For approximately eight months, Plaintiff
demonstrated recalcitrant resistance to discharging her discovery obligations, the most notable of
which was that refusal.

CONCLUSION
For the foregoing reasons, along with those reasons set forth in the annexed Motion and
Certification submitted by Mary A. Gambardella, Esquire, the Defendant respectfully requests

that this Court dismiss the Plaintiff's Complaint.
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In the alternative, in the event this Court deems dismissal not to be warranted, Defendant

respectively contends that this Court should grant it:

(a) an order compelling Plaintiff to appear for a deposition without further
production by Defendant within the next 30 days;

(b) an order further prohibiting her from noticing any depositions or initiating
additional discovery;

(c) an order requiring Plaintiff to reimburse Defendant for its fees incurred in
having to pursue her deposition for approximately six months, as well as for
the filing and prosecution of this Motion; and

(d) for such other and further relief as this Court deems equitable, just and proper.

DEFENDANT,

WORLD WRESTLING ENTERTAINMENT, INC.

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CERTIFICATE OF SERVICE
This will certify that, on October 26, 2009, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by e-mail to all parties listed below by operation
of the Court’s electronic filing system. Parties may access this filing through the Court’s
CM/ECF System.

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